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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.                                              Crim. Action No. 24-210 (DLF)

    MITCHELL BOSCH,

                         Defendant.



                                MOTION FOR CONTINUANCE

         The Defendant, Mitchell Bosch, cannot receive a fair trial in the District of Columbia

(“D.C.”) six days from today due to the heightened public emotion and highly publicized media

attention surrounding yesterday’s presidential election, which resulted in the re-election of

Donald Trump. Notably, 92.4% of the D.C. electorate voted for Vice President Kamala Harris,

with only 6.7% voting for President-elect Donald Trump.1

         I.     Procedural History

         On July 22, 2024, Mr. Bosch filed a Motion to Change Venue before this Court, arguing

that he could not receive a fair trial within this jurisdiction due to the presumptive prejudice of

the D.C. jury pool. ECF No. 24. On August 21, 2024, the Court denied Mr. Bosch’s motion as

premature, and granted leave to renew the Motion at the time of jury selection. Mr. Bosch hereby

incorporates the arguments made in his Motion and supplements them in support of a Motion for

Continuance of the November 12, 2024 trial date.




1
 https://www.nytimes.com/interactive/2024/11/05/us/elections/results-washington-dc-
president.html (last visited November 6, 2024)


                                                                                                      1
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         II.    Argument

         The re-election of the former president cannot be disentangled from the facts of Mr.

Bosch’s case. First, the events of January 6, 2021, stemmed from the belief of some individuals,

including the former, and now President-elect Trump, that the 2020 election was fraudulent. Just

three days ago, President-elect Trump continued to indicate he believes the 2020 election was

stolen, making national news headlines when he stated at a political rally that he “shouldn’t have

left” the White House back in 2021.2 Last month, President-elect Trump also characterized

January 6, 2021 as a “day of love”, doubling down that protestors came because “they thought the

election was a rigged election.” 3 Moreover, President-elect Trump has publicly and repeatedly

stated that he will pardon individuals convicted of offenses stemming from January 6, 2021.4

         In response to these statements, the need to protect democracy was raised repeatedly by

Vice President Harris’s campaign, as well as advocacy organizations. Over the past several

months, numerous political ads played on television and various internet platforms showing

violent scenes of January 6, 2021, and warning that a re-election of Donald Trump would result

in the degradation of democracy.5



2
    https://www.cnn.com/2024/11/03/politics/trump-dark-closing-message/index.html
3
    https://www.bbc.com/news/articles/ckgnxej1dn0o
4
  https://www.nbcnews.com/politics/justice-department/donald-trump-says-absolutely-pardon-
jan-6-rioters-rcna164565 (“"Oh, absolutely, I would. If they're innocent, I would pardon them,"
Trump said during a panel at the National Association of Black Journalists. "They were
convicted by a very tough system."”); https://www.npr.org/2024/01/04/1218672628/the-trump-
campaign-embraces-jan-6-rioters-with-money-and-pardon-promises (“An NPR review of social
media posts, speeches and interviews found that Trump has made calls to "free" Jan. 6
defendants or promised to issue them presidential pardons more than a dozen times.”)
5
 See “Bombshell | Harris-Walz 2024” https://www.youtube.com/watch?v=-vEE44TNMqE; “JD
Vance’s Damning Non-Answer | Harris-Walz



                                                                                                   2
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        Mr. Bosch understands that the President-elect’s proclamations of stolen elections and

pardons for patriots are not relevant evidence in his trial. However, they are highly relevant to

the ability of the jury pool to be fair and impartial. If jurors believe that the President-elect is a

threat to democracy, that he does not take the events of January 6, 2021 seriously, and that he

will pardon those involved that day, there is a real and significant possibility that, in their

aversion to those views, they will punish Mr. Bosch or use this case to send a message that they

disagree with the President-elect. At a minimum, there is a high risk that they will be unable to

be clear minded and focus solely on the evidence before them, in the wake of an emotionally

charged election which occurred exactly one week before jury selection.

        The risk of jurors within the District of Columbia being tainted by the electoral results

and accompanying news coverage is greater than any other jurisdiction in the country. First, as

Mr. Bosch argued in this Motion to Change Venue, the fact that January 6, 2021, took place in

D.C. makes the emotional connection, and accompanying risk of bias, around those events

significantly greater. Second, what we now know from voting data is that voters in D.C.

overwhelmingly voted against President-elect Trump, with 93 out of every 100 voters casting

their ballot for an alternate candidate. This stands in stark contrast to even the most “liberal”

leaning states whose vote tallies are currently in. In New York, for example, Vice President




2024” https://www.youtube.com/watch?v=Ax0KIhHFnaE; “Real Heroes | Harris-Walz
2024” https://www.youtube.com/watch?v=lN1mo9gjgM8; “America| Harris-Walz
2024” https://www.youtube.com/watch?v=kBqPu-FetF4; “Animated by lies and hate,
insurrectionists stormed the Capitol on January 6 in an attempt to overturn a lawful election.
What was at stake then, and now, is the right to have our future decided the way the Constitution
prescribes: by we, the people.” Facebook video by Kamala Harris’s page for the Biden-Harris
campaign: https://www.facebook.com/KamalaHarris/videos/animated-by-lies-and-hate-
insurrectionists-stormed-the-capitol-on-january-6-in-a/991794272126943/



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Harris received 55.8% of the vote, with President-elect Trump receiving 44.2%.6 In Vermont,

Vice President Harris received 64.4% of the vote, with President-elect Trump receiving 32.6%.7

In nearby Maryland, Vice President Harris received 60.2% of the vote, with President-elect

Trump receiving 37.3%.8

       News coverage in D.C. highlights these concerns. A local NBC affiliate interviewed

numerous D.C. residents talking about their outrage at the election’s outcome.9 One individual,

choking back tears, commented ““We are in trouble. We’re just in trouble…The entire thing has

been emotional to me because I have lived my life in service to others and so, and so, yes, it is.”

Another commented “I’m disgusted by this country if I’m being honest.” A local radio station,

WTOP, sought reactions in the community, “Darren from Dupont Circle told WTOP the election

results left him with a sleepless night and a sense of dread. ‘I’m exhausted behind these

sunglasses. I have cried. I have had, like, many panic attacks. And it’s this fear: This is (Trump)

is back,’ he said, adding he’s encountered a similar mood of sadness and misery among people

he had seen Wednesday morning. His message to other Americans who had planned of a




6
  Percentages calculated with 92% of the votes in. See
https://www.nytimes.com/interactive/2024/11/05/us/elections/results-new-york-president.html
(last visited November 6, 2024)
7
  Percentages calculated with 95% of the votes in. See
https://www.nytimes.com/interactive/2024/11/05/us/elections/results-vermont-president.html
(last visited November 6, 2024)
8
 Percentages calculated with 82% of the votes in. See
https://www.nytimes.com/interactive/2024/11/05/us/elections/results-maryland-
president.htmlsident.html (last visited November 6, 2024)
9
  NBC Washington, “I’m Very Disappointed: DC Reacts to Trump’s Win as Boards Removed
from Windows,” NBCWashington.com (Nov. 6,
2024), https://www.nbcwashington.com/decision-2024/im-very-disappointed-dc-reacts-to-
trumps-win-as-boards-removed-from-windows/3762177/.


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different outcome: ‘We all need a minute. Everyone will process this differently. We all know

trauma and grief. Everyone is going to process this differently. Check on your friends, check on

your loved ones.’” 10 These interviews support the grave concerns raised by Mr. Bosch about the

impartiality of a jury pool in D.C. in this moment.

       III.    Conclusion

       For the foregoing reasons, Mr. Bosch respectfully moves the Court to grant Mr. Bosch a

continuance to allow a reasonable amount of time for the emotions of the D.C. electorate to

subside in the wake of yesterday’s presidential election.

                                                      Respectfully submitted,


                                                      _____________________________
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10
  WTOP, DC-Area Voters React to Trump’s
Win, WTOP, https://wtop.com/elections/2024/11/dc-area-voters-react-to-trumps-win/ (last
visited Nov. 6, 2024).


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